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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA J S 6

CIVIL MINUTES — GENERAL

 

 

 

Case No. SA CV 21-00254-CJC (ADSx) Date October 22, 2021
Title Brian Roach v. Quicken Loans, LLC et al
PRESENT:

HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

Elsa Vargas for Rolls Royce Paschal Not Reported
Deputy Clerk Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF: ATTORNEYS PRESENT FOR DEFENDANT:
None Present None Present
PROCEEDINGS: (IN CHAMBERS) ORDER DISMISSING ACTION ON NOTICE OF
SETTLEMENT

The Court, having been notified of a Notice of Settlement [21], hereby orders this action
dismissed without prejudice. The Court hereby orders all proceedings in the case vacated and
taken off calendar.

The Court retains jurisdiction for ninety (60) days to vacate this order and to reopen the
action upon showing of good cause.

 

Initials of Deputy Clerk eva/rrp

 

CC:

 

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